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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 _________________________________________________
 AMERICAN LECITHIN COMPANY,
 LIPOID GmbH, LIPOID, LLC, and
 PHOSPHOLIPID GmbH,
                                                                       Case No. 12-cv-00929-VSB
                                    Plaintiffs,
                                                                     Document Electronically Filed
 -v-

 CARSTEN MATTHIAS REBMANN,

                                   Defendant and
                                   Third-Party Plaintiff,

 -v-

 HERBERT REBMANN, LIPOID STIFTUNG, LIPOID
 BETEILIGUNGS GmbH, LIPOID VERWALTUNGS AG,
 LIPOID GRUNDSTUECKS GmbH, and PHOSPHOLIPID
 FORSCHUNGSZENTRUM e.V.,

                           Third-Party Defendants.
 _________________________________________________

SAMUEL GOLDMAN, an attorney duly admitted to the practice of law before the Courts of the

State of New York, hereby affirms under penalty of perjury:

           1.     I am a principal of Samuel Goldman & Associates (“SG&A”), counsel to Defendant

and Third-Party Plaintiff Carsten Matthias Rebmann in this action. I respectfully submit this

Affirmation in support of Defendant’s Motion for Summary Judgment Dismissing Plaintiffs’

Amended Complaint.

           2.     Annexed hereto are true and correct copies of the following documents:

 Exhibit                                            Document

       1        Amended Complaint

       2        Transcript of Deposition of Third-Party Defendant Dr. Herbert Rebmann held on April
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     19, 2015

3    Transcript of Deposition of Defendant Carsten Matthias Rebmann held on July 19,

     2012

4    Email dated April 14, 2007 between Carsten Matthias Rebmann, Andreas Kolodziej

     and Bruce Baretz

5    Transcript of Deposition of Plaintiff Lipoid, LLC, by Bruce Baretz held on April 5,

     2016

6    Email dated April 2, 2008 between support@all-inkl.com, Andreas Kolodziej and

     Carsten Matthias Rebmann

7    Email string beginning on May 26, 2011 between Carsten Matthias Rebmann, Gerald

     Hommel and Andreas Kolodziej

8    Email dated August 17, 2011 from Carsten Matthias Rebmann to Herbert Rebmann

9    Email dated September 1, 2011 from Carsten Matthias Rebmann to Herbert Rebmann

     and Bruce Baretz

10   Letter dated August 25, 2011 from Herbert Rebmann to Carsten Matthias Rebmann

11   Print out of Americanlecithin.us registration information

12   Transcript of Deposition of American Lecithin Company, by Randall E. Zigmont dated

     March 30, 2016

13   Email dated August 25, 2011 between Linna Wang and Bruce Baretz

14   November 7, 2011 Wuersch & Gering LLP letter to Carsten Matthias Rebmann

15   December 16, 2011 Wuersch & Gering LLP letter to Carsten Matthias Rebmann

16   Letter dated March 21, 2012 from Mark D. Giarratana to Gregory F. Hauser

17   Letter dated June 15, 2012 from Mark D. Giarratana to Gregory F. Hauser
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     Case 1:12-cv-00929-VSB-KNF Document 275 Filed 03/01/19 Page 4 of 4



                               CERTIFICATE OF SERVICE
 I, Samuel Goldman, am an attorney at Samuel Goldman & Associates and am counsel for the
Defendant and Third-Party Plaintiff, in the above-captioned proceeding. I hereby certify that on
  March 1, 2019, I caused the foregoing Affirmation to be served electronically via the United
  States District Court, Southern District of New York Court’s ECF system upon those parties
                               entitled to receive electronic notice.




                                                           ______________________________
                                                           Samuel Goldman
